        Case 2:24-cv-02140-WB           Document 22        Filed 01/17/25     Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

  JAMES E. SHELTON, individually and on               Case No.
  behalf of all others similarly situated,            2:24-CV-02140-WB


                         Plaintiff,                   JURY TRIAL DEMANDED
          v.

  DOT Compliance Services, LLC

  and

  Christian Perales
                         Defendants.

                 MOTION TO COMMENCE DISCOVERY TO OBTAIN
                RECORDS THAT IDENTIFY PUTATIVE CLASS MEMBERS

        The Plaintiff, James E. Shelton, by and through the undersigned counsel, respectfully

requests that this Court enter an order permitting him to commence discovery so that he may

seek class certification and ultimately a classwide judgment. As support thereof, Plaintiff relies

on the Memorandum of Law contained herein.


                                              PLAINTIFF,
                                              By his attorneys,


                                       /s/ Andrew Roman Perrong
                                       Andrew Roman Perrong, Esq.
                                       Perrong Law LLC
                                       2657 Mount Carmel Avenue
                                       Glenside, Pennsylvania 19038
                                       Phone: 215-225-5529 (CALL-LAW)
                                       Facsimile: 888-329-0305
                                       a@perronglaw.com
        Case 2:24-cv-02140-WB            Document 22          Filed 01/17/25   Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I certify that I filed the foregoing via ECF on the below date.

I further certify that I mailed a copy of the foregoing to:

DOT COMPLIANCE SERVICES, LLC
AND CHRISTIAN PERALES
3232 TRUXILLO DR.
DALLAS, TX 75228


Tracking Number: 00310903331480001210


Dated: January 17, 2025

                                       /s/ Andrew Roman Perrong
                                       Andrew Roman Perrong, Esq.
                                       Perrong Law LLC
                                       2657 Mount Carmel Avenue
                                       Glenside, Pennsylvania 19038
                                       Phone: 215-225-5529 (CALL-LAW)
                                       Facsimile: 888-329-0305
                                       a@perronglaw.com




                                                  2
